          Case 2:25-cv-00244-LK         Document 210     Filed 02/19/25    Page 1 of 11




 1                                                                  The Honorable Lauren King
 2

 3

 4

 5

 6

 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                      NO. 2:25-cv-00244-LK
10                             Plaintiffs,             INDEX OF DECLARATIONS IN
                                                       SUPPORT OF PLAINTIFFS’
11      v.                                             MOTION FOR PRELIMINARY
                                                       INJUNCTION
12   DONALD J. TRUMP, in his official
     capacity as President of the United States of     NOTE ON MOTION CALENDAR:
13   America, et al.,                                  February 28, 2025, at 2:00 p.m.
14                             Defendants.
15

16

17

18

19

20

21

22

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26


     DECLARATION INDEX                                          ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     NO. 2:25-cv-00244-LK                                            800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
                                                                            (206) 464-7744
         Case 2:25-cv-00244-LK          Document 210    Filed 02/19/25      Page 2 of 11




 1
         ECF                Name                                  Title
 2
           13       Physician Plaintiff 1                       Plaintiff
 3

 4         14       Physician Plaintiff 2                       Plaintiff

 5         15       Physician Plaintiff 3                       Plaintiff
 6                                                   CEO, Executive Vice President
                     Timothy H. Dellit                      for Medical Affairs,
 7         16
                           MD                        Paul G. Ramsey Endowed Dean,
                                               University of Washington School of Medicine
 8
                                                        Assistant Attorney General
 9         17        William McGinty                   Complex Litigation Division
                                                   Washington State Attorney General
10                  Armand Antommaria
           18                                          Pediatrician and Bioethicist
                        MD, PHD
11
                                                        Pediatric Endocrinologist
12                                                  Associate Professor of Pediatrics
                        Dan Shumer
           19                                               Clinical Director
                           MD
13                                                 Child and Adolescent Gender Clinic
                                              Mott Children’s Hospital at Michigan Medicine
14
           21               L.L.                               Individual
15
           22               L.M.                               Individual
16

17         23        Luna Crone-Baron                          Individual

18         24               S.O.                               Individual
19
           25               V.S.                               Individual
20
           26               A.F.                                 Parent
21

22         27          Allison Jansen                            Parent

23         28               A.M.                                 Parent
24
           29               B.M.                                 Parent
25
           30         Brett J. Bertram                           Parent
26

     DECLARATION INDEX                            1             ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     NO. 2:25-cv-00244-LK                                            800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
                                                                            (206) 464-7744
         Case 2:25-cv-00244-LK          Document 210   Filed 02/19/25    Page 3 of 11




 1
         ECF                 Name                               Title
 2
           31                 C.K.                             Parent
 3

 4         32                 D.C.                             Parent

 5         33                 E.C.                             Parent
 6
           34           Elbe Seaton                            Parent
 7
           35         Elizabeth Grande                         Parent
 8

 9         36                 F.T.                             Parent

10         37                 G.T.                             Parent

11         38                 H.E.                             Parent
12
           39                 H.B.                             Parent
13
           40           Heidi Ullom                            Parent
14

15         41                 H.M.                             Parent

16         42                 H.R.                             Parent
17
           43               Jess Khan                          Parent
18
           44          Jessica Brady                           Parent
19

20         45                 J.M.                             Parent

21         46         Josephine Brinda                         Parent

22         47                 K.B.                             Parent
23
           48                K.C.C                             Parent
24
           49                 K.D.                             Parent
25

26         50                 K.G.                             Parent

     DECLARATION INDEX                            2           ATTORNEY GENERAL OF WASHINGTON
                                                                   Complex Litigation Division
     NO. 2:25-cv-00244-LK                                          800 Fifth Avenue, Suite 2000
                                                                       Seattle, WA 98104
                                                                          (206) 464-7744
         Case 2:25-cv-00244-LK         Document 210     Filed 02/19/25     Page 4 of 11




 1
         ECF                Name                                 Title
 2
           51               K.H.                                 Parent
 3

 4         52                K.S.                                Parent

 5         53               K.W.                                 Parent
 6
           54               M.B.                                 Parent
 7
           55    Melody & Zach Billmeyer                         Parent
 8

 9                              Docket # 56 - Court Filed Summonses

10         57               M.E.S.                               Parent

11         58               M.F.                                 Parent
12
           59          M.T. and T.T.                             Parent
13
           60               N.M.                                 Parent
14

15         61           Pam Riddle                               Parent

16         62                P.R.                                Parent
17
           63               R.D.                                 Parent
18
           64         Rebecca Voelkel                            Parent
19

20         65               R.H.                                 Parent

21         66                R.T.                                Parent

22         67                S.B.                                Parent
23
           68                S.F.                                Parent
24
           69                S.N.                                Parent
25

26         70                S.O.                                Parent

     DECLARATION INDEX                            3             ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     NO. 2:25-cv-00244-LK                                            800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
                                                                            (206) 464-7744
         Case 2:25-cv-00244-LK         Document 210      Filed 02/19/25     Page 5 of 11




 1
         ECF                Name                                   Title
 2
           71                S.S.                                 Parent
 3

 4         72                T.O.                                 Parent

 5         73                A.M.                                Provider
 6
           74               A.M.M.                               Provider
 7
                                                             Executive Director
           75         Anne Van Avery
 8                                                           Family Tree Clinic

 9         76                A.P.                                Provider

10         77                B.M.                                Provider

11                                                           Commissioner
           78       Brooke Cunningham
                                                    Minnesota Department of Health
12                      Carrie Link              Assistant Professor of Family Medicine
           79
                           MD                           University of Minnesota
13
           80                C.L.                                Provider
14
                                                       Mental Health Counselor
15         81           Corrie Piper
                                                      Alive Holistic Counseling
16                                             Board-Certified Family Medicine Physician
                        Crystal Beal                  University of Washington
           82
17                         MD                             School of Medicine
                                                       School of Public Health
18
           83
19                    Emmett Stanfield               Independent Clinical Social Worker
        84 (ex.)
20

21         85                E.K.                                Provider

22                                                          Clinical Instructor
           86          Elika McGuire          University of Washington School of Medicine
23                                                      Department of Psychiatry
                                                            Medicaid Director
24         87          Emma Sandoe
                                                        Oregon Health Authority
                                                       Family Medicine Physician
25
           88          Erik Haugland                      Gender Cae Specialist
26                                                       North Memorial Health

     DECLARATION INDEX                           4               ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
     NO. 2:25-cv-00244-LK                                             800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
                                                                             (206) 464-7744
         Case 2:25-cv-00244-LK          Document 210      Filed 02/19/25     Page 6 of 11




 1
         ECF                 Name                                   Title
 2
           89                 F.L.                                Provider
 3

 4         90                 G.M.                                Provider

 5         91                 H.L.                                Provider
 6                                              Vice President for Research and Innovation
           92           Irem Tumer
                                                         Oregon State University
 7
           93      Janna Gewirtz O'Brien                 Board-Certified Pediatrician
 8
                                                         Assistant Commissioner
 9         94          John Connolly
                                                Minnesota Department of Human Services
                      Katherine Oyster              Board-Certified Family Medicine
10         95
                            MD                                Allina Health
11                                                          Medical Director
                  Kathleen Kennedy Miller
           96                                             Adolescent Medicine
12                          MD
                                                          Children’s Minnesota
                                                           Executive Director
13         97           Kelly Hower                      Oregon State University
14                                                       Student Health Services
                    Kelsey Leonardsmit                           Director
           98
15                     MD, FAAFP                Midwest Trans Health Education Network
                    Mackenzie Dunham           Licensed Independent Clinical Social Worker
16         99
                     LICSW, LCSW                           Wild Heart Society
17                     Maria Kaefer                         Medical Director
          100
                           MD                               Famil Tree Clinic
18
          101               Marie Doe                             Provider
19
                    Marie-Clarie Buckley
          102                                                Assistant Professor
20                          MD
                                                          Executive Director
21        103       Nicole Krishnaswami
                                                        Oregon Medical Board
                    Pamela Gigi Chawla                        President
22        104
                       MD, MHA                    Minnesota Board of Medical Practice
23
          105                 R.R.                                Provider
24
          106                 R.C.                                Provider
25
                                                           Executive Vice President
          107          Tim Goldfarb
26                                                     Interiem Chief Executive Officer

     DECLARATION INDEX                            5               ATTORNEY GENERAL OF WASHINGTON
                                                                       Complex Litigation Division
     NO. 2:25-cv-00244-LK                                              800 Fifth Avenue, Suite 2000
                                                                           Seattle, WA 98104
                                                                              (206) 464-7744
         Case 2:25-cv-00244-LK         Document 210     Filed 02/19/25        Page 7 of 11




 1
         ECF                Name                                   Title
 2
                                                   Oregon Health & Science University
 3

 4        108               W.J.                                  Provider

 5                   Zack Barnett-Kern                Licensed Independent Clinical
          109
                      LICSW, MSW                         Social Worker Associate
 6
                                      Docket # 110 – Boyd NOA
 7
          111               Z.C.L.                                Provider
 8
                     A. Doe and B. Doe
 9        112                                                    Providers
                            MD
10        113          Anne Johnson                             Organization

11                    Charissa Fotinos                       Medicaid Director
          114
                        MD, MSc                  Washington State Health Care Authority
12                                                          Executive Director
          115          Danni Askini
                                                          Gender Justice League
13
                                                           Senior Vice President
                    Jeffrey G. Ojemann
14        116                                           Chief Physician Executive
                            MD
                                                             Seattle Children’s
15                                                          Executive Director
          117         Kyle S. Karinen
                                                    Washington Medical Commission
16
                                                            Executive Director
          118         Matthew Wilson
17                                                          Oasis Youth Center
                                                              Chief Executive
18        119           Mike Glenn
                                                           Jefferson Healthcare
19                                             Community Advocacy and Outreach Director
          120         Rebekah Gardea
                                                    QLaw Foundation of Washington
20                                                    Queer Youth Services Manager
          121           Sarah Glebe
                                                        Northwest Youth Services
21                                                          Executive Director
22        122          Taffy Johnson           United Territories of Pacific Islander Alliance
                                                                Washington
23                                       Docket ## 123–128
24
          129                E.H.                                Individual
25
                                         Docket ## 130–169
26

     DECLARATION INDEX                            6              ATTORNEY GENERAL OF WASHINGTON
                                                                      Complex Litigation Division
     NO. 2:25-cv-00244-LK                                             800 Fifth Avenue, Suite 2000
                                                                          Seattle, WA 98104
                                                                             (206) 464-7744
         Case 2:25-cv-00244-LK           Document 210   Filed 02/19/25      Page 8 of 11




 1
         ECF                Name                                 Title
 2
          170       Supp. Decl. Physician                       Plaintiff
 3                       Plaintiff 1
 4        171       Supp. Decl. Physician                       Plaintiff
                         Plaintiff 2
 5
          172       Supp. Decl. Physician                       Plaintiff
 6                       Plaintiff 3
                                                      Assistant Attorney General
 7        173         William McGinty
                                                     Complex Litigation Division
 8                                               Washington State Attorney General
                                                   CEO, Executive Vice President
          174    Supp. Timothy H. Dellit, MD
 9                                                        for Medical Affairs,
                                                   Paul G. Ramsey Endowed Dean,
10                                           University of Washington School of Medicine
11                                                    Pediatric Endocrinologist
                                                  Associate Professor of Pediatrics
12        175      Supp. Decl. Dan Shumer
                                                          Clinical Director
                            MD
                                                 Child and Adolescent Gender Clinic
13                                          Mott Children’s Hospital at Michigan Medicine
14                                             Chief of Prevention, Safety, and Health,
          176    Lacy Fehrenback-Marosfalvy
                                               Washington State Department of Health
15                                                      Senior Vice President
          177        Supp. Decl. Jeffrey
                                                      Chief Physician Executive
16                    G. Ojemann, MD
                                                          Seattle Children’s
17        178                 C.F.                             Individual
18
          179     Shannon Hillinger, Walker                     Family
19                    Aumann, & E.H.
          180                 K.B.                             Individual
20

21        181                M.M.                              Individual

22        182                 A.D.                              Parent
23
          183                 B.P.                              Parent
24
          184               Caitlin P.                          Parent
25

26        185                 C.C.                              Parent

     DECLARATION INDEX                             7           ATTORNEY GENERAL OF WASHINGTON
                                                                    Complex Litigation Division
     NO. 2:25-cv-00244-LK                                           800 Fifth Avenue, Suite 2000
                                                                        Seattle, WA 98104
                                                                           (206) 464-7744
         Case 2:25-cv-00244-LK          Document 210   Filed 02/19/25      Page 9 of 11




 1
         ECF                Name                                  Title
 2
          186                C.D.                                Parent
 3

 4        187                C.S.                                Parent

 5        188               G.K.L.                               Parent
 6
          189                J.K.                                Parent
 7
          190                J.L.                                Parent
 8
          191           J.V. and P.V.                            Parents
 9

10        192                L.D.                                Parent

11        193                M.S.                                Parent
12
          194                N.B.                                Parent
13
          195                S.G.                                Parent
14

15        196                S.M                                 Parent

16        197                S.T.                                Parent
17
          198       Stephenie ‘Fe’ Mischo                        Parent
18
          199                S.W.                             Grandparent
19
          200                T.D.                                Parent
20

21        201           D.Z. and A.Z.                            Parents

22        202                E.L.                          Provider, LSWAIC
23
          203       Emery Nelsen-Barbosa                  Provider, MS, LMFT
24
          204           Kian Leggett                   Provider, LICSW, SMMHS
25

26        205        Stacey Prince, Ph.D.        Provider, Licensed Clinical Psychologist

     DECLARATION INDEX                            8             ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     NO. 2:25-cv-00244-LK                                            800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
                                                                            (206) 464-7744
         Case 2:25-cv-00244-LK         Document 210    Filed 02/19/25      Page 10 of 11




 1
         ECF                Name                                  Title
 2
          206           Brandon Chun                   Interim Executive Director,
 3                                                       Ingersoll Gender Center
 4        207        Catherine Doe, MD                  Provider, Medical Doctor
 5        208                 N.V.                               Parent
 6
          209               CEO-MN-1                              CEO
 7

 8         DATED this 19th day of February 2025.

 9                                            NICHOLAS W. BROWN
                                              Washington State Attorney General
10
                                              /s/ William McGinty
11                                            WILLIAM MCGINTY, WSBA #41868
                                              CYNTHIA ALEXANDER, WSBA #46019
12                                            TERA HEINTZ, WSBA #54921
                                              ANDREW R.W. HUGHES, WSBA #49515
13                                            NEAL LUNA, WSBA #34085
                                              CRISTINA SEPE, WSBA #53609
14                                            LUCY WOLF, WSBA #59028
                                              Assistant Attorneys General
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17                                            Cynthia.Alexander@atg.wa.gov
                                              Tera.Heintz@atg.wa.gov
18                                            Andrew.Hughes@atg.wa.gov
                                              Neal.Luna@atg.wa.gov
19                                            Cristina.Sepe@atg.wa.gov
                                              Lucy.Wolf@atg.wa.gov
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22                                            COLLEEN MELODY, WSBA #42275
                                              Assistant Attorneys General
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                                              Seattle, WA 98104-3188
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                                              Lauryn.Fraas@atg.wa.gov
25                                            Colleen.Melody@atg.wa.gov
                                              Attorneys for Physician Plaintiffs 1-3
26

     DECLARATION INDEX                             9            ATTORNEY GENERAL OF WASHINGTON
                                                                     Complex Litigation Division
     NO. 2:25-cv-00244-LK                                            800 Fifth Avenue, Suite 2000
                                                                         Seattle, WA 98104
                                                                            (206) 464-7744
         Case 2:25-cv-00244-LK   Document 210    Filed 02/19/25       Page 11 of 11




 1                                      KEITH ELLISON
                                        State of Minnesota Attorney General
 2
                                        /s/ James W. Canaday
 3                                      JAMES W. CANADAY, MSBA #030234X
                                        Deputy Attorney General
 4                                      445 Minnesota St., Ste. 600
                                        St. Paul, Minnesota 55101-2130
 5                                      (651) 757-1421
                                        james.canaday@ag.state.mn.us
 6                                      Attorneys for Plaintiff State of Minnesota
 7

 8                                      DAN RAYFIELD
                                        State of Oregon Attorney General
 9
                                        /s/ Allie M. Boyd
10                                      ALLIE M. BOYD, WSBA #56444
                                        Senior Assistant Attorney General
11                                      Trial Attorney
                                        1162 Court Street NE
12                                      Salem, OR 97301-4096
                                        (503) 947-4700
13                                      allie.m.boyd@doj.oregon.gov
                                        Attorneys for Plaintiff State of Oregon
14

15
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16                                      Attorney General of Colorado
17                                      /s/ Shannon Stevenson
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18                                      Solicitor General
                                        Office of the Colorado Attorney General
19                                      1300 Broadway, #10
                                        Denver, CO 80203
20                                      (720) 508-6000
                                        shannon.stevenson@coag.gov
21                                      Attorneys for Plaintiff State of Colorado
22                                      *pro hac vice application pending
23

24

25

26

     DECLARATION INDEX                     10              ATTORNEY GENERAL OF WASHINGTON
                                                                Complex Litigation Division
     NO. 2:25-cv-00244-LK                                       800 Fifth Avenue, Suite 2000
                                                                    Seattle, WA 98104
                                                                       (206) 464-7744
